          Case 2:96-cr-00350-WBS-AC Document 821 Filed 05/10/13 Page 1 of 3


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 4   Telephone: (916) 554-2700
 5
 6
 7                       IN THE UNITED STATES DISTRICT COURT
 8                     FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
10   UNITED STATES OF AMERICA,               )   CASE NO. 2:96-CR-350-09 WBS
                                             )
11                        Plaintiff,         )   STIPULATION AND [PROPOSED]
                                             )   ORDER TO RESET SENTENCING
12   v.                                      )   HEARING
                                             )
13   HUY CHI LUONG,                          )
                                             )
14                        Defendant.         )
                                             )
15                                           )
16
17         The United States of America, through its counsels of record,
18   Benjamin B. Wagner, United States Attorney for the Eastern District
19   of California, and William S. Wong, Assistant United States Attorney,
20   and defendant HUY CHI LUONG, through his counsel, John Balazs, Esq.,
21   stipulate and agree to the following revised sentencing hearing
22   currently set for May 13, 2013, at 9:30 a.m. to a new sentencing
23   hearing date of May 20, 2013, at 9:30 a.m.
24         The defendant’s reply to the Government’s sentencing memoranda
25   raises several issues that necessitated the need for the government
26   to obtain a transcript of the defendant’s sentencing hearing before
27   Judge Patel in the Northern District of California; the presentence
28   report that was filed in the Northern District of California; and the

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        Case 2:96-cr-00350-WBS-AC Document 821 Filed 05/10/13 Page 2 of 3


 1   Northern District of California’s indictment charging RICO offenses.
 2   The government was able to obtain the aforementioned documents just
 3   yesterday, May 8, 2013, with the assistance of defendant’s counsel
 4   and the AUSA in the Northern District of California. The government
 5   needs additional time to adequately and effectively respond to the
 6   issues raised in the defendant’s reply to the Government’s sentencing
 7   memoranda.
 8        Counsel for the defendant was contacted and has no objection to
 9   this request to change the sentencing hearing date to May 20, 2013.
10
11
12                                          Respectfully submitted,
13   DATED:   May 9, 2013                   BENJAMIN B. WAGNER
                                            United States Attorney
14
15
                                      By:    /s/ William S. Wong
16                                          WILLIAM S. WONG
                                            Assistant U.S. Attorney
17
18   DATED:   May 9, 2013             By:    /s/John Balazs
                                            JOHN BALAZS
19                                          Attorney for Defendant
20
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                         IN THE UNITED STATES DISTRICT COURT
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                       FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
10
     UNITED STATES OF AMERICA,               )   CASE NO. 2:96-CR-350 WBS
11                                           )
                          Plaintiff,         )   ORDER TO RESET
12                                           )   SENTENCING HEARING
     v.                                      )
13                                           )
     HUY CHI LUONG,                          )
14                                           )
                          Defendant.         )
15                                           )
16
           For the reasons set forth above, the sentencing hearing date is
17
     now changed to May 20, 2013, at 9:30 a.m.
18
19    DATED:     May 9, 2013
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